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                            STATEMENT OF FACTS

1.     On December 2, 2020, a Task Force Officer (TFO) for the FBI, Washington Field

Office, acting in an undercover capacity, posing as a father with a nine-year-old son

(FATHER), was invited to join a private group on APP1. The purpose of the group was to

discuss the sexual abuse of minor boys as well as the sharing of Child Sexual Abuse

Material (CSAM) of minor boys. APP1 user “gayboy69freak”, subsequently identified as

the Defendant, Brogan Welsh (WELSH), sent a direct message to FATHER stating he was

a 28-year-old male residing in Richmond, Virginia, who had a sexual interest in minor

children as young as five years old.

2.     APP1 user “gayboy69freak” expressed interest in traveling to Washington, DC to

engage in sexual contact with the purported nine-year-old son of FATHER. APP1 user

“gayboy69freak” expressed interest in urinating on children and disclosed to FATHER he

had sexual contact with a younger cousin. Over the course of several weeks APP1 user

“gayboy69freak” communicated with FATHER about traveling to engage in sex with the

purported nine-year-old boy.

3.     FATHER forwarded a photograph of himself holding up three fingers to

“gayboy69freak” and asked the APP1 user “gayboy69freak” to send a photograph of his

face also holding up three fingers. The APP1 user initially sent a photograph of feet, but

then forwarded a photograph of an adult male’s face, holding up three fingers in front of

their face, per the directions of FATHER. The photograph sent by the APP1 user blocks

the nose, mouth, and sides of the face of the user. The APP1 user does have distinctive
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eyebrows which have appear to have a peak of hair near the middle of the eyebrow.

4.    On December 17, 2020, APP1 user “gayboy69freak” posted two mega.nz links to

the chat, which were observed to contain CSAM. FATHER responded:




5.    Your affiant reviewed the contents of both of the Mega.nz links sent to the APP1

chat containing APP1 user “gayboyfreak69” and FATHER. Your affiant found that the

links contained the following videos,

      a.     [boy + man] 10yo boy getting fucked then cum on his little cock: This

      is a ten (10) minute and forty-five (45) second video that depicts a prepubescent

      minor male being anally penetrated by an adult male’s erect penis. The boy is

      laying on his back with penis exposed, while adult male penetrates his anus with

      his penis.

      b.     [boy + boy] Alex 13yo + Sven 11yo: This is a seventeen (17) minute and

      thirty-four (34) second long video that depicts a pubescent and prepubescent boy

      placing their mouths on each other’s penises and touching each other’s penises.

      c.     [boy + man] S00-Ksbino 10 + man: This is a nineteen (19) minute and

      fifty (50) second long video that depicts a prepubescent male masturbating while
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        laying down on a bed. An adult male’s fingers are observed touching the child’s

        anus while the boy masturbates.



6.      Your affiant conducted a general review of both links and captured the review

using a screen recording application. Your affiant observed that most of the videos

appeared to contain prepubescent boys being sexually abused by adult men and other

boys.

7.      On December 17, 2020, APP1 user “gayboy69freak” sent a direct message to

FATHER to arrange a time to travel and meet the FATHER’s purported son for the purpose

of sexually abusing the purported minor:
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8.    On December 29, 2020, APP1 user “gayboy69freak” sent a direct message to

FATHER, detailing the following:
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9.     As part of this investigation, the Washington Field Office of the FBI served an

administrative subpoena on APP1 for the username gayboy69freak. APP1 advised that the

account had been registered with the email address jumbletarnation7112@gmail.com. FBI

WFO identified the following IP addresses that had been consistently used by the APP1

account between November 8, 2020 and December 7, 2020:

       a.     Comcast IP: 71.57.192.200 (accessed from November 15, 2020 to December

       7, 2020); and

       b.     GCI Communications: 65.74.126.79 (accessed from November 8, 2020 to

       November 14, 2020).

10.    FBI WFO issued an administrative subpoena to Google for subscriber information

and IP logs related to the Google account used to register the APP1 account. Google

advised that the account had been registered with a first/last name of Jay Sean and that the

last IP activity for the Google account was on May 6, 2020 from the IP address

2606:a000:101c:c930:e977:e92f:2391:84fd,        which     is    registered    to    Charter

Communications.        FBI WFO issued an administrative subpoena for this account’s

subscriber information.

11.    Comcast reported that the identified Comcast IP is registered to Martin Welsh of

10607 Lambeth Road in Glenn Allen, Virginia, 23060 (suburb of Richmond). Martin
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Welsh has been identified as the father of Brogan Welsh, the Defendant.

12.    GCI Communications reported that the identified GCI IP is registered to Sabra

Tyrck of 909 W 40th Avenue #1 in Anchorage, Alaska, 99503. Anchorage FBI confirmed

with the landlord of 909 W 40th Avenue, Sabra Tryck (Tyrck), that Brogan Welsh was a

tenant in Apartment 1 beginning in August of 2020. Tryck also told law enforcement that

she provided her tenants with all utilities, including the internet. According to Tryck, Welsh

moved out on around September 2021 and provided 6581 Whispering Loop Unit B,

Anchorage Alaska as his forwarding address.

13.    Charter Communications reported that the identified Charter Communications IP is

registered to Maxwell Stout of 6949 Maricopa Road in Charlotte, North Carolina, 28277.

14.    FBI WFO conducted records check of open source and law enforcement sensitive

databases in an attempt to identify the APP1 user. FBI WFO identified Brogan Welsh with

a North Carolina driver’s license, listing his home address as 6949 Maricopa Road in

Charlotte, North Carolina, 28277. Law enforcement was also able to observe the driver’s

license photograph. A phone number was found to be associated with WELSH which had

T-Mobile as the reported carrier. Alaska Permanent Funds Dividend (PFD) records

indicated that, as of January 30, 2023, WELSH listed his telephone number as 252-626-

7740. This telephone number is consistent with the telephone number FBI WFO identified

WELSH using through searches of law enforcement sensitive databases in 2020.

15.    A records search of that cellular phone number revealed that it was linked to

numerous social media platforms and online applications that included a Facebook account

for Brogan Welsh. Photographs on the WELSH Facebook profile included a photograph
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focused on WELSH’s face from the nose up. Your affiant is able to see in this photograph

that the eyebrows of the APP1 user, as shown in the photograph sent by the user to

FATHER, and those on the social media platform for Brogan Welsh appear the same.

These photographs also appear to depict the same individual as the one depicted in

WELSH’s driver’s license photo. (Appendix 1 contains 3 photographs in this investigation

that demonstrate that Brogan Welsh is the same person depicted in all 3 photographs).

16.      FBI WFO conducted records check of an airline reporting database and found that

WELSH had taken a flight from Richmond International Airport, on August 21, 2020, and

traveled to Anchorage Alaska. WELSH returned to the Richmond area (of VA) on

November 14, 2020.

17.      On January 6, 2021, FBI, Washington Field Office, this investigation was halted

due to events that occurred at the United States Capitol Building that day.

                  Federal Bureau of Investigation (Anchorage Field Office)

18.      On August 4, 2023, 1 FBI Anchorage, in an investigation previously thought to be

unrelated, executed SW 3:23-mj-48-MMS. The search warrant authorized the search of an

Iphone 14 Pro Max, that belonged to a person other than WELSH. A review of that phone

revealed chats between person(s) using the usernames that may be abbreviated as

“kirkytillboy” and “captain_awesome” on a social media application (“APP1”) known to

law enforcement to be utilized by individuals seeking encounters with minors. The chat

discussed both users want for sexually explicit interactions with a minor. Below is an


1
    Unless otherwise stated, all dates are approximate.
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example of the chat.
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19.   On August 21, 2023, FBI Anchorage served an administrative subpoena on APP1

for the username kirkytillboy. On August 28, 2023, APP1 provided that the account was

registered to the email gayboyws@gmail.com and provided IP address 69.178.71.82 from
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session logs.

20.    On September 25, 2023, FBI Anchorage served an administrative subpoena to

General Communication, Inc (GCI) for IP address 69.178.71.82. On September 26, 2023,

GCI responded and provided that the account was registered to the Defendant, Brogan

Welsh (WELSH), with the email account brogantwelsh@gmail.com, and the physical

address at a location in Anchorage, Alaska.

                  Evidence Derived from Execution of Search Warrants

21.    On October 19, 2023, law enforcement executed Search Warrants 3:23-mj-00607

and 00323 at a residence in Anchorage, Alaska, WELSH’s known address. The search

warrants authorized law enforcement to search and seize, among other items, mobile phone

and computers accessed by WELSH.

22.    As law enforcement approached the house, they noticed WELSH sitting in a chair

near the front door with at least one laptop computer on his lap. Law enforcement were

visibly marked as “FBI.” Law enforcement knocked on the door, after which WELSH

immediately arose from the seated position, and ran further into the residence, carrying a

laptop computer. FBI breached the residence door because no occupant responded to their

requests to open the door. After entry, law enforcement called for people upstairs to meet

them downstairs. Law enforcement located WELSH as he descended the stairwell,

apparently coming from his bedroom. WELSH claimed to have believed that the law

enforcement officers were representatives of the landlord, and that he left because he is not

a lawful renter of the residence. Law enforcement later located a laptop computer sitting in

the WELSH’s upstairs bedroom on his bed.
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23.    Law enforcement read WELSH his Miranda warnings. During the interview,

WELSH admitted that he used APP1, and that he was attracted to teenagers. WELSH said

that one laptop computer and one mobile phone were his.

24.    In a bedroom, believed to be WELSH’s bedroom, law enforcement located items

including sex toys that are very small in size and apparently consistent with the body size

of an approximate 10-year-old boy, including: a silicon ring, apparently of the type

commonly referred to as a “cock ring;” a bag of “sensory finger rings” which are apparently

devices for manual sexual stimulation; a very small dildo consistent in size with anal

penetration; and the following clothing consistent with a 10-year-old boy and too small for

an adult person of WELSH’s size: two pairs of underwear; and one pajama bottom.

25.    The investigation has revealed that a 10-year-old boy was, in fact, residing at the

residence belonging to WELSH.

26.    Law enforcement personnel on the scene of this search warrant confirmed that the

individual who lived at that residence, WELSH, appeared to be the same person as the

individual depicted in the North Carolina Driver’s license photograph, the profile pictures

on WELSH’s Facebook profile, and the picture sent by the APP1 user to the UC/FATHER

in December 2020, as detailed above.
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                                   CONCLUSION

27.   Based on the above information, there is probable cause to believe that Brogan

Welsh committed the following offense: Distribution of Child Pornography, in violation

of 18 U.S.C. § 2252(a)(2), on or about December 17, 2020.
